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 UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                        :
In re Application Pursuant to 28 U.S.C. § 1782 of Okean :
B.V. and Logistic Solution International to Take Discovery :                12 Misc. 104 (PAE)
of Chadbourne & Parke LLP                                               :
                                                                        :   OPINION & ORDER
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PAUL A. ENGELMAYER, District Judge:

        This case involves an application pursuant to 28 U.S.C. § 1782 to take discovery for use

in a foreign proceeding, here, a civil lawsuit before the District Court of Amsterdam. On July

16, 2013, the Court issued an order from the bench addressing the relevance to the application of

certain aspects of Russian and Ukrainian law upon which Chadbourne & Parke LLP

(“Chadbourne”), the respondent in this case, relied. See Dkt. 62–63. Petitioners Okean B.V. and

Logistic Solution International Limited (collectively, “Okean” or “Petitioners”) now move for

reconsideration of the Court’s holding. Dkt. 65–68. For the reasons that follow, Petitioners’

motion for reconsideration is denied.

I.      Legal Standard for Reconsideration

        The standard governing motions for reconsideration under S.D.N.Y. Local Civil Rule 6.3

“is strict, and reconsideration will generally be denied unless the moving party can point to

controlling decisions or data that the court overlooked—matters, in other words, that might

reasonably be expected to alter the conclusion reached by the court.” Shrader v. CSX Transp.

Inc., 70 F.3d 255, 257 (2d Cir. 1995); see also Nakshin v. Holder, 360 F. App’x 192, 193 (2d

Cir. 2010) (“The threshold for prevailing on a motion for reconsideration is high.”). The purpose

of Rule 6.3 is to “‘ensure the finality of decisions and to prevent the practice of a losing party

examining a decision and then plugging the gaps of a lost motion with additional matters.’”



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Naiman v. N.Y. Univ. Hosps. Ctr., No. 95 Civ. 6469 (RPP), 2005 WL 926904, at *1 (S.D.N.Y.

Apr. 21, 2005) (quoting Carolco Pictures, Inc. v. Sirota, 700 F. Supp. 169, 170 (S.D.N.Y.

1988)).

          Such a motion is “neither an occasion for repeating old arguments previously rejected nor

an opportunity for making new arguments that could have previously been made.” Associated

Press v. U.S. Dep’t of Def., 395 F. Supp. 2d 17, 19 (S.D.N.Y. 2005); see also Goonan v. Fed.

Reserve Bank of N.Y., No. 12 Civ. 3859 (JPO), 2013 WL 1386933, at *2 (S.D.N.Y. Apr. 5, 2013)

(“Simply put, courts do not tolerate such efforts to obtain a second bite at the apple.”).

Accordingly, “[c]ourts have repeatedly warned parties that motions for reconsideration should

not be made reflexively in order to reargue those issues already considered when a party does not

like the way the original motion was resolved.” Families for Freedom v. U.S. Customs & Border

Prot., No. 10 Civ. 2705 (SAS), 2011 WL 4599592, at *2 (S.D.N.Y. Sept. 30, 2011) (citation

omitted). On a Local Rule 6.3 motion, “a party may not advance new facts, issues, or arguments,

not previously presented to the Court.” Polsby v. St. Martin’s Press, No. 97 Civ. 690 (MBM),

2000 WL 98057, at *1 (S.D.N.Y. Jan.18, 2000) (Mukasey, J.) (citation omitted). Generally,

district courts will only amend or alter a judgment “to correct a clear error of law or prevent

manifest injustice.” In re Assicurazioni Generali, S.P.A., 592 F.3d 113, 120 (2d Cir. 2010).

II.       Application

          Familiarity with the Court’s July 16, 2013 order and with the background of this case is

assumed. Okean argues for reconsideration on four grounds: (1) that the Court overlooked

matters raised in the Butler Reply Declaration, Dkt. 60, about the location in which the

privileged relationship between Chadbourne and the clients in question here was entered into;

(2) that the Court overlooked that, under Russian law, neither Chadbourne nor Konstantinov can



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claim advokat secrecy with respect to Chadbourne’s clients; (3) that the Court overlooked one of

Okean’s arguments as to why the personal data contained within the subpoenaed documents is

beyond the reach of the Ukrainian and Russian Personal Data laws; and (4) that the Court’s order

neglected to address Okean’s blocking statute argument.

       A.      Location of Privileged Relationship

       The Court did not, as Okean argues, “overlook[] critical matters that were raised in the

Butler Reply Declaration concerning the New York situs of Chadbourne.” Okean

Reconsideration Br. (Dkt. 66) 3. In stating that “neither party disputes that th[e] locations [where

the privileged relationships were entered into] were Kiev and Moscow,” Tr. 13, the Court was

referring to the physical location where the relationship was formed. Put simply, the Court was

not persuaded by Okean’s argument that Chadbourne’s status in Russia as a “representation

office” means that the Court must adhere to the legal fiction that the relationship was entered into

in New York and that New York law must apply to this proceeding. Just as the Court was not

persuaded that “Chadbourne’s organizational structure, as an international law firm with offices

in various lands, effectively exempts it from the personal data laws of the countries in which its

offices are located,” Tr. 17, it is not persuaded that Chadbourne’s structure demands that the

Court apply New York law to a relationship physically entered into in Russia—notwithstanding

conclusory statements to the contrary in the Butler Reply Declaration. 1

       B.      Advokat Secrecy

       The same is true as to the issue of advokat secrecy. The Court did not overlook the

Butler Reply Declaration’s take on this issue; it was not, however, persuaded by it. As the Court

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  See Batruk v. Mitsubishi Motors Corp., Nos. 94 Civ. 7593 (KMW), 94 Civ. 8677 (KMW), 1998
WL 307383, at *3 (S.D.N.Y. June 10, 1998) (“[F]ederal judges may reject even the
uncontradicted conclusions of an expert witness and reach their own decisions on the basis of
independent examination of foreign legal authorities.” (citation omitted)).
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stated, it was not convinced that Mr. Konstantinov’s failure to specifically “allege that he has a

contract for the provision of legal services to the said Client in his capacity as an advokat,”

Butler Reply Decl. ¶ 12, when considered along with the fact that he is a partner at Chadbourne,

renders the advokat law inapplicable to him and strips his clients of confidentiality protections.

Petitioners attempt to reargue this issue on their motion for reconsideration, but the Court

previously considered—and rejected—this overly formalistic argument.

       C.      Trigger of Foreign Data Protection Laws

       The Court also did not fail to consider the argument that “because whatever personal data

exists in the subpoenaed documents is in the possession of, belongs to, and can be used by the

LLP in New York, that data is beyond the reach of the Ukrainian and Russian Personal Data

Laws.” Okean Reconsideration Br. 5. But the Court does not agree, again, that it is required to

assume away the original physical location of any personal data simply based on the

organizational structure of Chadbourne, concluding therefore that the foreign data protection

laws are never triggered whatsoever. The Court considered, but rejected, the conclusions of the

Butler Reply Declaration to the contrary.

       D.      Blocking Statute Analysis

       Okean is correct in its assertion that the Court did not address explicitly Okean’s blocking

statute argument. However, the Court’s conclusion that the foreign laws in question apply here

so as to impose limits on Chadbourne’s freedom to produce records, Tr. 10, 18, and its

subsequent discussion of how to proceed in light of that conclusion, Tr. 20 et seq., clearly

implied that the Court did not find that it should order Chadbourne to produce the subpoenaed

documents pursuant to a blocking statute analysis.




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       The Advokat Secrecy law and the personal data protection laws implicated here are not

properly characterized as “blocking statutes.” “Blocking statutes are designed to take advantage

of the foreign government compulsion defense . . . by prohibiting the disclosure, copying,

inspection, or removal of documents located in the territory of the enacting state in compliance

with orders of foreign authorities.” Restatement (Third) of Foreign Relations Law of the United

States § 442 n.4 (1987); accord S.N.P. Boat Service S.A. v. Hotel Le St. James, 483 B.R. 776,

780 n.4 (S.D. Fla. 2012); see also Okean Br. (Dkt. 53) 12–13. The foreign statutes at issue in

this case, in contrast, exist as a result of the considered decision of Russian and Ukrainian

legislators to enact strong client confidentiality and personal data privacy protections. They do

not exist—and there is no basis to claim that they exist—for the purpose of impeding

enforcement of United States laws. Counsel for Okean admitted to being aware of “no case[]

addressing either the Ukrainian or Russian Personal Data Laws [or] an attorney confidentiality

statute” as blocking statutes. Okean Br. 13. The statutes in question here are a far cry from the

types of foreign statutes that have been characterized by courts as blocking statutes, e.g., bank

secrecy laws and laws impeding enforcement of U.S. antitrust laws. This Court does not view

them as such.

       Because the Court holds that the statutes in question are not properly characterized as

“blocking statutes,” the Court has no occasion to address the factors applied by courts in this

Circuit to decide whether, in the case of a blocking statute, a court should nevertheless order

production despite the applicable foreign statutes. See Restatement § 442(1)(c); see also In re

Air Cargo Shipping Svcs. Antitrust Litig., 278 F.R.D. 51, 52–53 (E.D.N.Y. 2010); Gucci Am.,

Inc. v. Curveal Fashion, No. 09 Civ. 8458 (RJS)(THK), 2010 WL 808639, at *2 (S.D.N.Y. Mar.




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8, 2010); Strauss v. Credit Lyonnais, S.A., 249 F.R.D. 429, 438–39 (E.D.N.Y. 2008); Minpeco,

S.A. v. Conticommodity Svcs., Inc., 116 F.R.D. 517, 522–23 (S.D.N.Y. 1987).

        E.      Costs

        The Court declines to order Okean to compensate Chadbourne for its costs and attorneys’

fees in responding to this motion, as requested by Chadbourne in its opposition brief.

Chadbourne Reconsideration Opp. Br. (Dkt. 67) 11 n.3. The Court does not fault Okean for

endeavoring in good faith to ensure that the Court had considered all of its arguments in support

of its motion, and, in particular, in obtaining clarification as to the blocking statute analysis.

        F.      Next Steps

        The Court’s July 16, 2013 order stands. Notwithstanding the Court’s conclusion that the

Russian and Ukrainian laws are applicable to the materials in question, the Court concludes that,

in light of Okean’s and Blakur’s privilege waiver, some limited review by petitioner’s counsel of

documents relating, inter alia, to those entities is warranted. Such review is likely to assist the

Court in determining whether any further document review and production is merited.

Chadbourne is therefore directed to make available to Okean’s counsel, for review, the 600

documents it has identified as relating to Chadbourne’s representation of Okean and/or Blakur.

These documents are to be reviewed on an attorneys’-eyes-only basis, and must be available by

Friday, September 20, 2013. By Friday, September 13, 2013, the parties are directed to meet and

confer as to the terms of a protective order, per Chadbourne’s August 9, 2013 letter (Dkt. 69),

and to put in place a protective order consistent with the Court’s order of July 16, 2013.

        As to the location of review by counsel for Okean of the 600 documents, the Court

directs that such review occur in Chadbourne’s offices.




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       The Court anticipates that this review should be complete by mid-October. The parties

are directed to submit to the Court a joint status letter by October 25, 2013, setting for the

parties' respective views as to next steps, if any, in this matter.



        SO ORDERED.


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                                                                United States District Judge


Dated: September 4,2013
       New York, New York




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